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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN




 Linda Sue Sexton, et al.,

                                    Plaintiff(s),

 v.                                                     Case No. 2:19−cv−12574−MAG−APP
                                                        Hon. Mark A. Goldsmith
 Thomas Cernuto, et al.,

                                    Defendant(s).




                                 CLERK'S ENTRY OF DEFAULT

 Party in Default: Larry Lynn Dunn

      The default of the party named above for failure to plead or otherwise defend is entered.



                                       Certificate of Service

    I hereby certify that on this date a copy of the foregoing notice was served upon the parties
 and/or counsel of record herein by electronic means or first class U.S. mail.

                                                    DAVID J. WEAVER, CLERK OF COURT


                                                By: s/ L. Granger
                                                    Deputy Clerk

 Dated: September 13, 2019
